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                                            UNITED STATES BANKRUPTCY COURT
            15

            16                                 EASTERN DISTRICT OF CALIFORNIA

            17                                          FRESNO DIVISION

            18
                   MADERA COMMUNITY HOSPITAL,                     Chapter 11
            19
                                     Debtor.                      Case No. 23-10457
            20
                   ANTONIO RUBIO, on behalf of
            21     themselves and those similarly situated,
                                                                  Adv. Proc. No. ________
            22                       Plaintiff,
            23            v.
                                                                  Class Action Complaint
            24     MADERA COMMUNITY HOSPITAL,
                                                                  Jury Demanded
            25                       Defendant.
            26
            27

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            1                   CLASS ACTION ADVERSARY PROCEEDING COMPLAINT
                                 FOR VIOLATION OF WARN ACT 29 U.S.C. § 2101, et seq.
            2

            3            Antonio Rubio (the “Plaintiff”), on behalf of himself and a putative class of similarly

            4    situated former employees as defined herein, brings this suit against Madera Community Hospital,

            5    by way of this Class Action Complaint and Adversary Proceeding Complaint against Defendant-

            6    Debtor, allege as follows:

            7                                       NATURE OF THE ACTION

            8            1.      This is a core proceeding within the meaning of 28 U.S.C. § 157(b) and Federal

            9    Rule of Bankruptcy Procedure 7008(a), relating to the above-captioned case entitled In re Madera

           10    County Community Hospital, E.D. Cal. Bankr. Case No. 23-10457, filed under Chapter 11 of the

           11    Bankruptcy Code in the U.S. Bankruptcy Court for the Eastern District of California, Fresno

           12    Division.

           13            2.      This case was originally filed in the United States District Court against Defendant,

           14    Rubio v. Madera Community Hospital, No. 1:23-cv-00262-SAB (E.D. Cal.). Plaintiff now pursues

           15    its claims against Defendant-Debtor in this Court.

           16            3.      Plaintiff consents to entry of the final order or judgment in this adversary proceeding

           17    if it is determined that the Court, absent consent of the parties, cannot enter a final order or judgment

           18    consistent with Article III of the United States Constitution. Fed. R. Bankr. P. 7008.

           19            4.      This is a Class Action Complaint brought under the Worker Adjustment and

           20    Retraining Notification Act, 29 U.S.C. §§ 2101–2109 (the “WARN Act”), the California Worker

           21    Adjustment and Retraining Notification Act (the “California WARN Act”), Cal. Lab. Code

           22    §§ 1400–1413, and California Labor Code § 227.3, by the Plaintiff on his own behalf and on behalf

           23    of the other similarly situated persons against Defendant-Debtor Madera Community Hospital, his

           24    employer for WARN Act purposes.

           25            5.      On or about January 2, 2023, Madera Community Hospital made a mass layoff by,

           26    unilaterally and without notice, permanently terminating approximately 772 employees at its

           27    Madera, CA facilities, without any notice to employees or staff.

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            1           6.      Madera Community Hospital failed to provide 60 days advance written notice as

            2    required by the WARN Act, 29 U.S.C. § 2101 et seq., and the California WARN Act, Cal. Lab.

            3    Code § 1401, to the affected employees.

            4           7.      Madera Community Hospital also failed to pay vested paid time off upon

            5    termination of the affected employees, in violation of Cal. Labor Code § 227.3.

            6           8.      On December 23, 2022, Madera Community Hospital informed the affected

            7    employees that layoffs were imminent and that the Hospital was filing for bankruptcy.

            8           9.      On January 2, 2023, affected employees were informed by Human Resources that

            9    their services were no longer needed, and they were advised to collect their final pay checks on that

           10    same day.

           11           10.     Madera Community Hospital’s January 2, 2023, terminations constituted a mass

           12    layoff or plant closing which became effective on that same day—January 2, 2023. As such,

           13    Plaintiff and other similarly situated employees should have received the full protection afforded

           14    by the WARN Act and California WARN Acts and should have been paid their accrued but unused

           15    paid time off under the California Labor Code.

           16                                     JURISDICTION AND VENUE

           17           11.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (B) and (O).

           18           12.     On March 10, 2023, Defendant-Debtor filed a voluntary non-individual petition for

           19    relief under Chapter 11 of Title 11 of the United States Bankruptcy Code.

           20           13.     The bankruptcy court case is being administered under Bankruptcy Case Number
           21    23-10457.

           22           14.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 and 29

           23    U.S.C. § 2104(a)(5).

           24           15.     This Court has supplemental jurisdiction over the state law claims pursuant to 28

           25    U.S.C. § 1367(a).

           26           16.     Venue over this adversary proceeding is proper in this district pursuant to 28 U.S.C.
           27    § 1391(b) and 29 U.S.C. § 2104(a)(5).

           28
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            1           17.     Pursuant to E.D. Cal. Bankr. Local Rule 1002-1, intradistrict assignment to the

            2    Fresno Division is proper. The alleged claims arose in Madera and Fresno Counties.

            3                                               PARTIES

            4           18.     Plaintiff Antonio Rubio is a citizen of the United States and resident of Madera

            5    County, California. Plaintiff Rubio was employed by Madera Community Hospital at all relevant

            6    times. Plaintiff is an “aggrieved employee” within the meaning of 29 U.S.C. § 2104(a)(7) and an

            7    “employee” within the meaning of the California WARN Act, Cal. Lab. Code § 1400.5(h).

            8           19.     Defendant-Debtor Madera Community Hospital is a not-for-profit 501(c)(3)

            9    organization with its principal place of business at 1250 East Almond Ave, Madera, CA, 93637.

           10           20.     Defendant-Debtor Madera Community Hospital is the responsible entity for the

           11    operation of the facility located at 1250 East Almond Ave, Madera, CA, 93637 as well as the

           12    locations at 1210 East Almond Ave, Madera, CA, (“Family Health Services Clinic”), 285 Hospital

           13    Drive, Chowchilla, CA (“Chowchilla Medical Center”), and 121 Belmont Ave, Suite 100, Mendota,

           14    CA (“Family Health Services Mendota Clinic”).

           15                                                 FACTS

           16           21.     Madera Community Hospital is a not-for-profit, freestanding, community-based

           17    independent hospital, not associated with any hospital or health system.

           18           22.     On or about December 23, 2022, without notice or warning, Madera Community

           19    Hospital informed, by written documents and verbal communications, its employees at all of its

           20    locations in Madera, Chowchilla, and Mendota, CA, that it was eliminating certain positions and
           21    terminating certain employees’ employment effective January 2023 and that terminated employees

           22    would perform no additional compensated services.

           23           23.     Plaintiff Antonio Rubio was employed as a maintenance mechanic in the

           24    engineering department of Madera Community Hospital for approximately 14 years.

           25           24.     On January 2, 2023, Plaintiff Antonio Rubio was informed that he had been paid for

           26    his time worked and was advised to collect his last paycheck. He did not receive any payment for
           27    his outstanding, accrued 368 hours of PTO, and he was not offered any severance.

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            1           25.     In a notice dated January 4, 2023, but which, on information and belief, was not

            2    filed with the California Employment Development Department until January 20, 2023, Madera

            3    Community Hospital advised that 772 employees of Madera Community Hospital located at the

            4    four facilities in Madera, Chowchilla, and Mendota, CA, were separated from employment.

            5           26.     The Madera Community Hospital did not provide any notice as required by the

            6    federal WARN Act, 29 U.S.C. § 2101 et seq. or California WARN Act, Cal. Lab. Code § 1401(b),

            7    even though it planned to abolish, terminate, and/or layoff more than 100 full-time employees

            8    employed at the four facilities.

            9           27.     Upon information and belief, no circumstances existed that would have permitted

           10    Madera Community Hospital to reduce the notification period as provided in 29 U.S.C. § 2102(b)

           11    and Cal. Lab. Code § 1401(b).

           12           28.     By failing to provide its affected employees who were temporarily or permanently

           13    terminated on or around January 2, 2023, with WARN Act Notice and other benefits, Defendant-

           14    Debtor has acted willfully and cannot establish that it had any reasonable grounds or basis for

           15    believing its actions were not in violation of the federal/California WARN Acts.

           16           29.     By failing to pay accrued vacation time upon termination, Defendant-Debtor is in

           17    violation of California Labor Code § 227.3.

           18                           RULE 23 CLASS ACTION ALLEGATIONS

           19            30.    Plaintiff brings his WARN Act claim and California WARN Act claims as a Class

           20    Action pursuant to Federal Rule of Civil Procedure 23 on behalf of the following class:
           21                   All employees of Madera Community Health in the Madera,
                                Chowchilla, and Mendota, CA facilities, who were terminated pursuant
           22                   to a mass layoff or termination (as those terms are defined in California
                                Labor Code § 1400.5) or a mass layoff or plant closing (as those terms
           23                   are defined in the federal WARN Act) on or around January 2, 2023.
           24
                         31.    Plaintiff brings his claim under the California Labor Code for failure to pay vested
           25
                 vacation pay upon termination pursuant to Federal Rule of Civil Procedure 23 on behalf of the
           26
                 following class:
           27
                                All employees of Madera Community Health in the Madera,
           28                   Chowchilla, and Mendota, CA facilities, whose employment was
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            1                  permanently terminated or temporarily suspended within 30 days of
                               January 2, 2023 and were not paid their accrued but unused paid time
            2                  off as wages upon termination.

            3
                         32.   Class Action treatment of federal WARN Act claims, California WARN Act claims,
            4
                 and California Labor Code violation are appropriate because all of Federal Rule of Civil Procedure
            5
                 23’s Class Action requisites can be satisfied. For example:
            6
                            a. Both classes include, upon information and belief, over 50 class members, and, as
            7
                               such, are so numerous that joinder of all the class members is impracticable under
            8
                               these circumstances, thereby satisfying Federal Rule of Civil Procedure 23(a)(1).
            9
                            b. Questions of law and fact are common to the classes, including, inter alia, whether
           10
                               Defendant-Debtor provided adequate notice of its mass layoff under the WARN
           11
                               Act, 29 U.S.C. § 2102, and whether Defendant-Debtor failed to pay vested paid time
           12
                               off. Thus, Plaintiff satisfies Federal Rule of Civil Procedure 23(a)(2).
           13
                            c. Plaintiff is a member of both classes, and the claims are typical of the claims of other
           14
                               class members. Plaintiff has no interests that are antagonistic to or in conflict with
           15
                               the interests of other class members. Thus, Plaintiff satisfies Federal Rule of Civil
           16
                               Procedure 23(a)(3).
           17
                            d. Plaintiff will fairly and adequately represent the classes and their interests.
           18
                               Moreover, Plaintiff has retained competent and experienced counsel who will
           19
                               effectively represent the interests of the class. Thus, Plaintiff satisfies Federal Rule
           20
                               of Civil Procedure 23(a)(4).
           21
                         33.   Class certification is appropriate pursuant to Federal Rule of Civil Procedure
           22
                 23(b)(1) because the prosecution of separate actions by individual class members would create a
           23
                 risk of inconsistent or varying adjudications which would establish incompatible standards of
           24
                 conduct for Defendant-Debtor and/or because adjudications with respect to individual class
           25
                 members would as a practical matter be dispositive of the interests of non-party class members.
           26
                         34.   Class certification is appropriate pursuant to Federal Rule of Civil Procedure
           27
                 23(b)(2) because Defendant-Debtor acted or refused to act on grounds generally applicable to the
           28
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            1    Class, making appropriate declaratory and injunctive relief with respect to Plaintiff and the class as

            2    a whole.

            3             35.    Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3)

            4    because common questions of law and fact predominate over any question affecting only individual

            5    class members, and because a Class Action is superior to other available methods for the fair and

            6    efficient adjudication for this litigation.

            7
                          VIOLATIONS OF THE FEDERAL WARN ACT, 29 U.S.C. §§ 2101, et seq.
            8                                          COUNT I
            9                                        (WARN Act)
                                    (On behalf of Plaintiff and All Class Members)
           10

           11             36.    Plaintiff re-alleges and incorporates all preceding paragraphs as if set forth in full

           12    here.

           13             37.    Madera Community Hospital is an “employer” within the meaning of the WARN

           14    Act, 29 U.S.C § 2101(a)(1).

           15            38.     Madera Community Hospital employed more than 100 full-time employees for at

           16    least six months of the 12 months preceding the date that notice was required under the WARN

           17    Act.

           18             39.    Plaintiff and those he seeks to represent were at all relevant times “affected

           19     employees” within the meaning of the WARN Act, 29 U.S.C § 2101(a)(5).

           20            40.     The January 2, 2023, closure of Madera Community Hospital constituted a “plant

           21    closing” as defined in 29 U.S.C. § 2101(a)(2) in that it was a permanent or temporary shutdown of

           22    a single site of employment that resulted in an employment loss for 50 or more employees. Upon

           23    information and belief, the shutdown will last longer than 30 days.

           24             41.    The January 2, 2023, permanent layoffs resulted in “employment losses” as defined

           25    in 29 U.S.C. § 2101(a)(3)(B)(ii).

           26             42.    For purposes of 29 U.S.C. § 2101(a)(3)(B), the facilities in Madera, Chowchilla, and

           27    Mendota, CA constitute a single site of employment in that the locations are within the same

           28    geographic area, share the same operational purpose, and may share the same staff or equipment.
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            1    These facilities, collectively, are the places which relevant employees were assigned as their home

            2    base, the place from which their work was assigned, and the place where they reported for work.

            3            43.    The WARN Act requires employers to provide 60 days’ notice of any plant closing

            4    or mass layoff “to each representative of the affected employees . . . or, if there is no such

            5    representative at that time, to each affected employee,” 29 U.S.C. § 2102(a)(1), and “to the State

            6    or entity designated by the State to carry out rapid response activities under [29 U.S.C. §]

            7    3174(a)(2)(A),” as well as to “the chief elected official of the local government within which such

            8    closing or layoff is to occur,” 29 U.S.C. § 2102(a)(2).

            9            44.    On information and belief, prior to January 2, 2023, Madera Community Hospital

           10    did not give proper prior written notice of the plant closing and/or mass layoff to any “affected

           11    employee,” including Plaintiff and those he seeks to represent, as that term is defined in 29 U.S.C

           12    § 2101(a)(5). Upon information and belief, nor did Defendant-Debtor give any prior written notice

           13    to the California Employment Development Department (“EDD”), or to the chief elected official

           14    of the local government within which the mass layoff was ordered. Rather, Defendant-Debtor

           15    waited until after the layoffs began to do attempt to do so, and its notice was not received by EDD

           16    until after the layoffs had occurred.

           17           45.     Defendant-Debtor violated the WARN Act by failing to give timely written notice

           18    as required by 29 U.S.C. § 2102(a) of the mass layoff that began on or about January 2, 2023.

           19           46.     As such, Plaintiff and those he seeks to represent are “aggrieved employees” within

           20    the meaning of the WARN Act, 29 U.S.C. § 2104(a)(7).
           21            47.    The WARN Act expressly permits an “aggrieved employee” to bring a civil action

           22    individually and on behalf of all those similarly situated to seek relief for violations of the

           23    provisions of 29 U.S.C. § 2102. See 29 U.S.C. § 2104(a)(5).

           24            48.    Moreover, Defendant-Debtor’s violations of the WARN Act were not in good faith,

           25    and Defendant-Debtor had no reasonable grounds for believing that the plant closing or mass layoff

           26    it ordered was not in violation of the notice requirements at 29 U.S.C. § 2102.
           27

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            1                        VIOLATIONS OF THE CALIFORNIA WARN ACT,
                                             CAL. LAB. CODE §§ 1401, et seq.
            2                                             COUNT II
            3                                      (California WARN Act)
                                        (On behalf of Plaintiff and All Class Members)
            4
                          49.   Plaintiff re-alleges and incorporates all preceding paragraphs as if set forth in full
            5
                 here.
            6
                         50.    Madera Community Hospital is an “employer” within the meaning of the California
            7
                 WARN Act. Cal. Lab. Code § 1400.5(b).
            8
                         51.    Plaintiff and those he seeks to represent were at all relevant times “employees”
            9
                 within the meaning of the Cal. Lab. Code § 1400.5(h).
           10
                         52.    The January 2, 2023, permanent layoffs resulted in a “layoff,” “mass layoff,” or
           11
                 “termination” as defined in Cal. Lab. Code § 1400.5(c), (d), and (f) in that it was a permanent or
           12
                 temporary shutdown of a single site of employment that resulted in an employment loss for 50 or
           13
                 more employees. Upon information and belief, the shutdown will last longer than 30 days.
           14
                         53.    For purposes of Cal. Lab. Code § 1400.5(a), the facilities in Madera, Chowchilla,
           15
                 and Mendota, CA employed more than 75 persons within the preceding 12 months and constitute
           16
                 a single “covered establishment” in that the locations are within the same geographic area, share
           17
                 the same operational purpose, and may share the same staff or equipment. These facilities,
           18
                 collectively, are the places to which relevant employees were assigned as their home base, the place
           19
                 from which their work was assigned, and the place where they reported for work.
           20
                         54.    The California WARN Act requires employers to provide 60 days’ notice of any
           21
                 plant closing to “the employees of the covered establishment affected by the order” and “[t]he
           22
                 California Employment Development Department, the local workforce investment board, and the
           23
                 chief elected official of each city and county government within which the termination, relocation,
           24
                 or mass layoff occurs.” Cal. Lab. Code § 1401(a)(1)–(2).
           25
                         55.    On information and belief, prior to January 2, 2023, Madera Community Hospital
           26
                 did not give proper prior written notice of the plant closing and/or mass layoff to any “affected
           27
                 employee,” including Plaintiff and those he seeks to represent, as that term is defined in Cal. Lab.
           28
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            1    Code § 1401(a)(1)–(2). Upon information and belief, nor did Defendant-Debtor give any prior

            2    written notice to the California Employment Development Department (“EDD”), or to the chief

            3    elected official of the local government within which the mass layoff was ordered. Rather, because

            4    Defendant-Debtor waited until after the layoffs began to do so or attempt to do so, its notice was

            5    not received by EDD until after the layoffs had occurred.

            6            56.    Defendant-Debtor violated the California WARN Act by failing to give timely

            7    written notice of the mass layoff, which began on or about January 2, 2023, as required by the

            8    California WARN Act, Cal. Lab. Code § 1401(b).

            9            57.    The California WARN Act expressly permits a person to bring a civil action

           10    individually and on behalf of all those similarly situated to seek relief for violations of the

           11    provisions of Cal. Lab. Code § 1404.

           12            58.    Moreover, Defendant-Debtor’s violations of the WARN Act were not in good faith,

           13    and Defendant-Debtor had no reasonable grounds for believing that the plant closing or mass layoff

           14    it ordered was not in violation of the notice requirements at 29 U.S.C. § 2102, which are

           15    incorporated into the California WARN Act, Cal. Lab. Code § 1401(b).

           16                       VIOLATIONS OF THE CALIFORNIA LABOR CODE,
                                                   CAL. LAB. CODE § 227.3
           17
                                                           COUNT III
           18                        (Failure to pay vested vacation pay upon termination)
                                        (On behalf of Plaintiff and All Class Members)
           19

           20            59.    Plaintiff re-alleges and incorporates all preceding paragraphs as if set forth in full

           21    here.

           22            60.    Pursuant to California Labor Code § 227.3, an employer must pay its employees

           23    who are entitled to paid vacation days pursuant to a contract of employment or employer policy

           24    their accrued but unused vacation pay as wages upon termination.

           25            61.    Pursuant to company policy, Defendant-Debtor provided Plaintiff and those he

           26    seeks to represent with accrued paid time off. Upon the employees’ termination on or about January

           27    2, 2023, Defendant-Debtor failed to pay those who were discharged the full amount of their accrued

           28    paid time off as wages. Accordingly, Defendant-Debtor has violated Labor Code § 227.3.
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            1        CLAIM FOR PENALTIES UNDER THE LABOR CODE PRIVATE ATTORNEYS
                                                   GENERAL ACT,
            2                            CAL. LAB. CODE §§ 2698-2699 et seq.
            3                                         COUNT IV
                            (Penalties under the Labor Code Private Attorneys General Act)
            4                    (On Behalf of Plaintiff and all Aggrieved Employees)

            5            62.    Plaintiff re-alleges and incorporates all preceding paragraphs as if set forth in full

            6    here.

            7            63.    Under the Labor Code Private Attorneys General Act, Labor Code §§ 2698-2699 et

            8    seq., an “aggrieved employee” may bring a civil action on behalf of himself and other employees

            9    to recover civil penalties for violations of the California Labor Code. These penalties are in addition

           10    to any other relief under the Labor Code.

           11            64.    Plaintiff brings this claim on behalf of himself and other aggrieved employees of

           12    Defendant-Debtor.

           13            65.    Plaintiff is an “aggrieved employee” within the meaning of California Labor Code

           14    § 2699(c), and is a proper representative to bring a civil action on behalf of himself and other

           15    employees of Defendant-Debtor.

           16            66.    As set forth above, Defendant-Debtor committed a violation of the California Labor

           17    Code by failing to pay vested vacation pay upon termination, in violation of Cal. Lab. Code. §227.3.

           18            67.    Plaintiff provided written notice by certified mail to the Labor & Workforce

           19    Development Agency (“LWDA”) and to Madera Community Hospital regarding the specific

           20    provisions of the Labor Code alleged to have been violated by Defendant-Debtor, including the

           21    facts and theories to support the alleged violation, on February 22, 2023. More than 65 days have

           22    elapsed since those submissions, and the LWDA has not exercised jurisdiction over the claim for

           23    civil penalties under the Private Attorneys General Act. Cal. Lab. Code. § 2699.3(a)(2)(A).

           24    Accordingly, Plaintiff and aggrieved employees have exhausted administrative remedies as

           25    required by Labor Code § 2699.3.

           26            68.    Labor Code § 2699(f) sets forth the civil penalty for a violation for which the Labor

           27    Code does not otherwise specify a penalty. Because Labor Code § 227.3 does not specify a penalty

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            1    for failure to pay vested vacation pay as wages upon the termination of employment, Plaintiff and

            2    all other aggrieved employees are entitled to recover the penalty provided by Labor Code § 2699(f).

            3           69.     Under the Labor Code Private Attorneys General Act, all plaintiffs and aggrieved

            4    employees are entitled to recover the maximum civil penalties permitted by law from Madera

            5    Community Hospital for the violations of § 227.3 as alleged in this Complaint. All plaintiffs and

            6    aggrieved are also entitled to recover their attorneys’ fees and costs under Labor Code § 2699(g).

            7                                        PRAYER FOR RELIEF

            8           WHEREFORE, Plaintiff prays for the following relief:

            9           1.      Certification of the Class as a Class Action pursuant to Federal Rule of Civil

           10    Procedure 23(b), and designation of Plaintiff as a representative of the Class and his counsel of

           11    record as Class Counsel;

           12           2.      A declaration that Defendant-Debtor has violated the WARN Act, California

           13    WARN Act, and California Labor Code;

           14           3.      A judgment against Defendant-Debtor and in favor of Plaintiff and those he seeks

           15    to represent equal to the sum of: their unpaid wages, salaries, commissions, bonuses, accrued

           16    holiday pay, accrued vacation pay, pension and 401(k) contributions and other ERISA benefits, for

           17    up to 60 days, that would have been covered and paid under the then-applicable employee benefit

           18    plans had that coverage continued for that period permitted by the WARN Act, 29 U.S.C.

           19    § 2104(a)(1)(A), California WARN Act, with the first $15,150.00 of each Class member’s allowed

           20    claim entitled to wage priority claim treatment under 11 U.S.C. § 507(a)(4) & (5), and any
           21    remainder as a general unsecured claim;

           22           4.      A judgment against Defendant-Debtor and in favor of Plaintiff and those he seeks

           23    to represent for the loss of benefits, including, but not limited to, medical expenses incurred by

           24    Plaintiff and those he seeks to represent during the employment loss, to the fullest extent allowable

           25    under the WARN Act, 29 U.S.C. § 2104(a)(1)(B) and California WARN Act, Cal. Lab. Code

           26    § 1402 with the first $15,150.00 of each Class Member’s allowed claimed entitled to wage priority
           27    claim treatment under 11 U.S.C. § 507(a)(5), and any remainder as a general unsecured claim;

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            1           5.      A monetary award for monies owed under California Labor Code § 227.3 in the

            2    maximum amounts permitted by law, with the first $15,150.00 of each Class member’s allowed

            3    claim entitled to wage priority claim treatment under 11 U.S.C. § 507(a)(4) & (5), and any

            4    remainder as a general unsecured claim;

            5           6.      A monetary award of civil penalties authorized by the Labor Code Private Attorneys

            6    General Act, Labor Code §§ 2698-2699 et seq., in the maximum amount permitted by law;

            7           7.      A finding that Defendant-Debtor’s violations of the WARN Act and California

            8    WARN Act were and are willful, not in good faith, and that Defendant had no reasonable grounds

            9    for believing that its mass layoff was not in violation of the notice requirements of the WARN Act,

           10    29 U.S.C. § 2102, and/or the California WARN Act, Cal. Lab. Code § 1401(b); and Labor Code

           11    Private Attorneys General Act, Labor Code §§ 2698-2699 et seq.;

           12           8.      A judgment against Defendant-Debtor and in favor of Plaintiff and those he seeks

           13    to represent for litigation costs, expenses, attorney’s fees to the fullest extent permitted under the

           14    WARN Act, 29 U.S.C. § 2104(a)(6), California WARN Act, Cal. Lab. Code §§ 1404, Cal. Lab.

           15    Code § 218.5, and/or Cal. Lab. Code § 2699(g); and for discretionary costs pursuant to Federal

           16    Rule of Civil Procedure 54(d);

           17           9.      An allowed administrative priority claim against Debtors under 11 U.S.C. § 503 for

           18    the reasonable attorney’s fees and the costs and disbursements that Plaintiffs incur in prosecuting

           19    this action, as authorized by the WARN Act, 20 U.S.C. § 2104(a)(3) and (6); the California WARN

           20    Act, Cal. Lab. Code § 1403; Cal. Lab. Code. § 227.3; and Cal. Lab. Code § 2699(g); and
           21           10.     Such other and further relief as this Court deems just and proper and allowed under

           22    the WARN Act, California WARN Act, and California Labor Code.

           23

           24    Dated: May 11, 2023                           Respectfully submitted,
                                                               By: s/Eileen B. Goldsmith
           25
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